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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

ATLANTIC RECORDING                  )
CORPORATION, et al.,                )
                                    )
     Plaintiffs,                    )
                                    )                Case No.:
v.                                  )
                                    )                1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

                     OPPOSITION TO PLAINTIFFS’
                   MOTION FOR LEAVE TO AMEND
          EXHIBIT A TO THE AMENDED COMPLAINT (DKT. 194)

      Plaintiffs have moved for leave to add “approximately 2,000” more sound

recordings to their list of allegedly infringed works. Defendants oppose Plaintiff’s

request as follows:

I.    Introduction

      It is too late for Plaintiffs to make their proposed amendment. In their Motion

for Leave (Dkt. 194), Plaintiffs request to add approximately 2,000 additional sound

recordings to the list of works in suit, attached as Exhibit A to the Amended

Complaint (Dkt. 127), over five months after the close of discovery. (See Dkt. 194,

p. 2). In so requesting, Plaintiffs conclude that they should be granted leave to amend

because    “any    delay   in   seeking   this   amendment     is   due   entirely   to


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Defendants’…belated production of the 98,675 sound recordings that Defendants

had hidden from public [ ] view.” (See Dkt. 194, p. 2). However, Plaintiffs are

incorrect. Leave should be denied because Defendants production was timely and

the addition of 2,000 more works in suit, over five months after the close of

discovery, severely alters the value of this case, changes Defendants’ liability

assessment, and greatly prejudices Defendants.

II.   Standard for Amending a Complaint

      The Court is not required to grant leave to amend. (Fed. R. Civ. P. 15(a)(2);

Campbell v. Emory Clinic, 166 F.3d 1157, 1162 (11th Cir. 1999)(holding the courts

liberal discretion to deny amendment is not abused when the amendment would

prejudice the defendant, follows undue delays, or is futile.)). While “[t]he court

should freely give leave to amend when justice so requires;” courts have “extensive

discretion” in deciding whether to grant leave to amend and may choose not to allow

an amendment “when [it] would prejudice the defendant, follows undue delay or is

futile.” (Fed. R. Civ. P. 15(a)(2); Campbell, 166 F.3d at 1162)(“Prejudice and undue

delay are inherent in an amendment asserted after the close of discovery and after

dispositive motions have been filed, briefed, and decided”); see also Abramson v.

Gonzalez, 949 F.2d 1567, 1581 (11th Cir.1992) (holding “that the district court did

not abuse its discretion in denying the plaintiffs’ motion to amend” because




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“numerous grounds for denial . . . existed here, including undue delay, undue

prejudice to the defendants, and futility of the amendment”)).

       A trial court also has considerable leeway and inherent authority to manage

its own docket. (Rance v. Rocksolid Granit USA, Inc., 489 F. App’s 314, 316 (11th

Cir. 2012) (District courts have authority to manage its own docket and have “broad

discretion in deciding how best to manage the cases before them”); (Equity Lifestyle

Props., Inc. v. Fla. Mowing & Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir.

2009) (“A district court has inherent authority to manage its own docket so as to

achieve the orderly and expeditious disposition of cases”).

III.   Argument and Authorities

       A.    Plaintiffs’ Proposed Amendment Will Prejudice Defendants
             By Significantly Altering the Value of this Case

   Plaintiffs should not be permitted to again amend Exhibit A to their Amended

Complaint (Dkt. 127 and 127-1) because, for one reason, doing so would

significantly alter the value of this case which, in turn, prejudices Defendants.

   Defendants have defended this case proportionate to the amount in dispute.

Defendants have created a litigation plan, engaged in discovery, prepared motions,

and defended this case in a way appropriate for the potential damages at issue based

on Plaintiffs’ original February 3, 2017 claim to 210 works in suit (Dkt. 1) and later




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based on Plaintiff’s amended September 11, 2017 (Dkt. 72)1 claim to 2,100 works

in suit (Dkt. 127 and 127-1). In fact, after Plaintiffs’ September 2017 amendment,

Defendants brought this concern to the Court because Plaintiffs’ Amended

Complaint continued to refer to the 2,100 works in suit as an open-ended,

“illustrative” list of the allegedly infringed works. Specifically, at the September 19,

2017 hearing, Defendants noted that it was their understanding the Court ordered

Plaintiffs (in Discovery Hearing Order, Dkt. 58) “to file a final list of infringed works

by September.” (Transcript of Sept. 19, 2017 Hearing at 46:3-13 (emphasis added))2.

    A “final” list was needed because only by knowing the number of works

allegedly infringed can Defendants understand their potential damages number.3

Also, the number of works allegedly infringed greatly impacts the liability analysis,

as discussed in Section B below. At the September hearing, the Court, acknowledged




1
  The Complaint was amended again on October 19, 2017 (Dkt. 127) (twelve days
before the close of discovery on October 31,2017 as Ordered by the Court via Dkt.
58); however, the number of songs in suit was not altered by Plaintiff’s October 19
amendment.
2
  Excerpts from the September 19, 2017 Hearing are attached as Exhibit C.
3
  Plaintiffs are likely to seek statutory damages under the Copyright Act, which
permits damages for each work allegedly infringed. (17 U.S.C. § 504). Statutory
damages can range from $750 to $30,000 for each work infringed and may increase
to $150,000 for each work infringed if willfulness is shown. (Id.) By adding 2,000
more works in suit, long after the close of discovery, Plaintiffs seek to increase the
potential value of this case twenty-fold from their initial Complaint (Dkt. 1) and
double from their Amended Complaint (Dkt. 127).

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the prejudice that would result from a late addition of infringed sound recordings to

Plaintiff’s Amended Complaint. The Court stated:

      I’m not going to just say that you could – that you can proceed based
      on liability on 2100 and then go to a damages portion of a trial and
      suddenly add 200,000. That violently changes the scope of the case. So
      I think your folks need to be thinking about it…if Spinrilla is as still
      moderate in size and financial profitability as represented…they ought
      to know what your case is about and really understand the magnitude
      of the case for purposes of resolution.

(Transcript of Sept. 19, 2017 Hearing at 55:1-21).

      Despite the Court’s warning, Plaintiffs now attempt to double the number of

sound recordings allegedly infringed from around 2,100 to 4,000. This considerably

alters the magnitude of the case and Defendants’ potential liability—over five

months after the close of discovery.

      Consistent with Rule 26 of the Federal Rules of Civil Procedure, Defendants

conducted discovery in a means that is:

      proportional to the needs of the case, considering the importance of the
      issues at stake in the action, the amount in controversy, the parties'
      relative access to relevant information, the parties' resources, the
      importance of the discovery in resolving the issues, and whether the
      burden or expense of the proposed discovery outweighs its likely
      benefit.

(Fed. R. Civ. P. 26 (emphasis added)).

      Again, Defendants defended this case, for the majority of the time, based on

it being about 210 infringed sound recordings, then, one moth prior to the close of

discovery, based on the case being about 2,100 sound recordings. Since discovery

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ended over five months ago, Plaintiffs should not be allowed to materially alter this

case and force Defendants to defend a case involving more than 4,000 sound

recordings.

      B.      Amending the Number of Works At Issue
              from 210 to 4,095 Materially Alters the Issue of Liability

      The prevalence of infringement on a defendant’s website is one of the factors

considered when determining liability for indirect copyright infringement. The

Eleventh Circuit has held that a defendant will not be liable for contributory

infringement where the product in question is capable of substantial noninfringing

uses or is widely used for legitimate and unobjectionable purposes. (See

Cable/Home Comm. Corp. v. Network Prods., Inc., 902 F.2d 829, 845 (11th Cir.

1990)). The determination that a product is capable of substantial noninfringing use

involves assessing the pervasiveness of infringement. (Sony Corp. of Am. v.

Universal City Studios, Inc., 464 U.S. 417, 442 (1984) (holding that the question of

contributory liability turns on whether the Betamax is capable of commercially

significant noninfringing uses). In reversing the Ninth Circuit, the Supreme Court in

Sony highlighted a survey of owners who predominately articulated their primary

use of the product was “recording a program to view at a later time, and thereafter

erasing it.” (Sony Corp. of Am., 464 U.S. at 423). This survey greatly demonstrating

significant noninfringing uses affected the Court’s analysis of liability. (See also,

Cambridge Univ. Press v. Becker, No. 1:08-CV-1425-ODE, 2010 WL 11507617, at

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*12 (N.D. Ga. Sept. 30, 2010), order clarified on reconsideration, No. 1:08-CV-

1425-ODE, 2010 WL 11508001 (N.D. Ga. Dec. 28, 2010) (holding “[h]ere, the

evidence indicates that ERes and uLearn have significant noninfringing uses. They

can be used to facilitate distribution of materials protected by fair use. They can be

used to digitally distribute works for which Georgia State owns licenses. They can

also be used to distribute copyrighted works with permission from the copyright

holders. They can be used to distribute original materials created by the instructors

or materials for which the instructors or the university owns copyrights. uLearn

allows instructors to utilize a wide range of ‘tools’ to manage their courses, such as

discussion forums, quizzes, and announcement pages.”))

   Thus, the proportionality and extent of alleged infringement across the Spinrilla

service is directly related to liability. Permitting Plaintiffs to add an additional 2,000

sound recordings to the number of works at issue (after already adding

approximately 1,900 works one month prior to the close of discovery (Dkt. 72))

materially alters the indirect infringement analysis. Defendants have been defending

this case, the majority of the time, with the understanding that Plaintiffs were

complaining that 210 songs out of the 1.3 million songs on the Sprinilla service were

owned by Plaintiffs and published without permission. That means that Plaintiffs

made no claim to 99.9998% of the songs on Spinrilla. In September 2017, Plaintiffs

amended that number to 2,100 songs, which Defendants operated under until the


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close of discovery on October 31, 2017. Doubling the number of sound recordings

allegedly infringed more than five months after the close of fact discovery puts

Defendants in an unfair position.

      C.     Plaintiffs’ Amendment is Untimely Because Fact Discovery Is Closed

      While the Federal Rules state that “court[s] should freely give leave when

justice so requires,” “a motion to amend may be denied on numerous grounds, such

as undue delay, undue prejudice to the defendants, and futility of the amendment.”

(Fed.R.Civ.P. 15(a)(2), Carruthers v. BSA Advert, Inc., 357 F.3d 1213, 1218 (11th

Cir. 2004). Specifically, “it is not an abuse of discretion for a district court to deny

a motion for leave to amend following the close of discovery, past the deadline for

amendments and past the deadline for filing dispositive motions.” (Lowe’s Home

Centers, Inc. v. Olin Corp., 313 F.3d 1307, 1315 (11th Cir. 2002)). Such “[p]rejudice

and undue delay are inherent in an amendment asserted after the close of discovery

and after dispositive motions have been filed, briefed, and decided.” (Campbell v.

Emory Clinic, 166 F.3d 1157, 1162 (11th Cir. 1999)). District Courts routinely hold

and were affirmed on appeal when the District Court denied a motion for leave to

amend when the motion was filed three months after the close of discovery.

(Thurmond v. Bayer Healthcare Pharmaceuticals, Inc., 649 Fed. Appx. 1003, 1006

(11th Cir. 2016)) (holding that “the district court did not abuse its discretion by

denying leave to amend this late in the process” when the motion was filed “three


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months after the close of fact discovery”); (Tatum v. SFN Group, Inc., 698

Fed.Appx. 1000, 1010 (11th Cir. 2017)) (district court did not abuse its discretion

by concluding movant did not show good cause to amend complaint when motion

for leave to amend complaint was filed three months after discovery closed). In

addition, even a one-month delay in filing a motion for leave to amend was held to

be too late. (S. Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1242-43 (11th Cir.

2009)) (holding that a one-month delay before moving to amend “waited too late”

and “dallied too long”). Finally, “[i]t is not an abuse of discretion for a district court

to deny a motion for leave to amend a complaint when such motion is designed to

avoid an impending adverse summary judgment.” (Lowe’s Home Centers, 313 F.3d

at 1315 (11th Cir. 2002)).

      Permitting Plaintiffs’ proposed amendment would necessitate additional fact

discovery by Spinrilla. Plaintiffs seem to believe the Court and Defendants should

assume that infringing copies of the newly identified sound recordings were

available on Spinrilla, but that assumption should not be made. In fact, ownership,

registration, and copying of these sound recordings are all part of Plaintiffs’ prima

facie case. (Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)

(holding that to make out a prima facie case of copyright infringement, a plaintiff

must show that (1) it owns a valid copyright in a work and (2) defendants copied

protected elements from that work); (see also 17 U.S.C. § 411) (“no civil action for


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infringement of the copyright in any United States work shall be instituted until

preregistration or registration of the copyright claim has been made…”).

      If Plaintiffs’ proposed amendment were allowed, Defendants would need to

be given the opportunity to meaningfully challenge Plaintiffs’ assertions of

ownership, registration and, most importantly, that infringing copies of these sound

recordings were available on Spinrilla. And Spinrilla cannot meaningfully challenge

those assertions without fact discovery. Discovery would be needed on at least these

topics:

      ● where on Spinrilla were each of the allegedly infringing copies (Spinrilla

should be allowed to listen to those audio files)4;

      ● where on Spinrilla did Plaintiffs locate country music, which was allegedly

uploaded, and which is very unlikely present on Spinrilla’s hip-hop music site;

      ● how did Plaintiffs determine that audio on Spinrilla infringed each of these

2,000 sound recordings (Spinrilla should be allowed to probe the reliability of the




4
  Also, Plaintiffs failed to include a URL for any of the additional 2,000 songs (or
the original 200 (Dkt. 1) or amended 2,100 (Dkt. 127-1)). The URL would convey
to Spinrilla where on Spinrilla’s platform (allegedly) each of the allegedly infringing
copies are located. This would, in turn, allow Spinrilla to know each specific audio
file on its platform which is being challenged by Plaintiffs. Plaintiffs provided URLs
in responding to Defendants’ interrogatories (a sample of such response is attached
as Exhibit A to this Opposition). Since Plaintiffs failed to include this in their
proposed Exhibit A to the Complaint (Dkt. 194-2), Spinrilla is forced to get this
information through discovery.

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method Plaintiffs employed to and related evidence. Spinrilla should also be entitled

to know what proof or evidence Plaintiffs will present at trial (or at summary

judgment) to support their claim that copies of these 2,000 sound recordings were

available on Spinrilla).

      ● what evidence is there that these 2,000 sound recordings are actually owned

by one of the Plaintiffs

      ● what evidence is there that these 2,000 sound recordings are registered with

the United States Copyright Office5 and, if registered, whether the registered version

is the same version that was allegedly available on Spinrilla’s website.

      ● Defendants have worked directly with some of the artists listed for the

additional 2,000 sound recordings, what evidence is there that these sound

recordings were not uploaded with artist or label permission; and

      ● why Plaintiffs have not sent takedown notices for any of the 2,000 additional

sound recordings?

      Re-opening fact discovery – even if limited to the topic of these 2,000

additional sound recordings – would set this case way back. Fact discovery ended

on October 31, 2017 and, given the volume of sound recordings Plaintiffs are




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  As the Court is aware, no lawsuit for infringement of a work’s copyright can be
brought unless that work is first registered with the United States Copyright Office
(or unless registration was sought and denied). (17 U.S.C. § 411(a)).

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seeking to add, Spinrilla would need at least 90 days of additional fact discovery in

connection with the 2,000 newly added sound recordings. Defendants would be

prejudiced by prolonging this litigation further and by the costs and attorney fees of

conducting this additional fact discovery.

         Furthermore, Plaintiffs admit they received the audio files from Spinrilla in

December 2017 yet fail to explain why they waited until April 2018 to move to

amend their Complaint. While it certainly takes time to evaluate those audio files,

given Plaintiffs’ collective resources as the largest record labels in the world, they

should have completed their evaluation quicker than four months. Similarly,

Plaintiffs never asked to stay the litigation for the purpose of evaluating those audio

files.

         D.    The Court Previously Considered Other Amendments by Plaintiffs

   As mentioned above, Defendants raised their concern that Plaintiffs would

attempt to add sound recordings to the Complaint after the close of discovery. At the

September 19, 2017 hearing, the Court appreciated Defendants’ concern and noted

that it was not inclined to permit Plaintiffs never-ending amendments to the number

of works at issue. (Transcript of Sept. 19, 2017 Hearing at 55:1-21). Aware of the

prejudice that could be caused by a late amendment to Exhibit A, the Court expressly

stated that it would not permit Plaintiffs to “violently” change the scope of this case

at the last hour because Defendants have a right to know what Plaintiffs’ “case is


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about and really understand the magnitude of the case for purposes of resolution.”

(Transcript of Sept. 19, 2017 Hearing at 55:1-21). In accordance with the Court’s

prior Order, Plaintiffs should be denied further amendments to Exhibit A.

      E.     Defendants’ Allegedly “Belated” Production Was Timely

      Finally, Plaintiffs’ attack, at length, the timeliness of Defendants’ production

of audio files made inaccessible from the Spinrilla service. (Plaintiff’s Brief, pp. 3-

6 [Dkt. 194-1]). One of Plaintiffs arguments is that “Defendants’ very belated[ly]”

produced audio files to Plaintiffs. (Plaintiffs’ Brief, p. 2 (Dkt. 194-1)]. Plaintiffs’

contend the audio files Defendants produced in December 2017 “clearly fell within

the scope of Plaintiffs’ April 21, 2017 Requests for Production of Documents.”

(Plaintiffs’ Brief, p. 4 [Dkt. 194-1]). Despite Plaintiffs efforts at mischaracterization,

Defendants produced a list of the inaccessible songs and copies of these sound

recordings in a timely manner.

      Plaintiffs cannot use the timing of Defendants production as an excuse.

Plaintiffs’ Requests for Production of Documents sought to obtain as much of

Spinrilla’s database as possible (to which Defendants objected and were forced to

seek relief from the Court). Defendants’ objections to Plaintiffs’ expansive requests

were brought before the Court in August and September 2017, and the Court ruled

that although the Plaintiffs want the entirety of Defendants’ database, servers, and




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other proprietary information, Plaintiffs are not entitled to it because it is not

discoverable. (Transcript, September 19, 2017 Hearing, 10:11-24).

      As a less invasive means of gaining insight into the operation of the Spinrilla

service and narrowing Plaintiff’s discovery requests, on August 28, 2017, the Court

granted Plaintiffs permission to take a 3-hour deposition of Mr. Copeland, focused

on Spinrilla’s source code, database, and other proprietary information, in addition

to all other depositions permitted by the Federal Rules of Civil Procedure.

(Transcript of Sept. 19, 2017 Hearing at 31:2-32:16). However, Plaintiffs caused

further delays in obtaining the information they sought by failing to take the “source

code” deposition of Mr. Copeland until October 2, 2017. This failure was noted by

the Court at the Parties’ September 19, 2017 hearing. The Court specifically asked:




(Transcript of Sept. 19, 2017 Hearing at 31:9-13).

      The Court further noted Plaintiffs failure to obtain information regarding

Defendants’ database and system operation, despite the Court’s grant of a 3-hour

“source code” deposition of Mr. Copeland on August 28, 2017, when it stated:




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(Transcript of Sept. 19, 2017 Hearing at 32:1-8).

      It was not until October 4, 2017 that Plaintiffs finally came to their senses and

narrowed their discovery from (1) a request for all database information for every

sound recording ever uploaded to the Spinrilla service since its inception, to (2) a

request merely for database information identified by Mr. Copeland during his

deposition for the sound recordings disabled from the Spinrilla service. (See Exhibit

B—email exchange between counsel for the Parties filed provisionally under seal).

And even then, counsel for the Parties disputed what exact database information

should be produced. (See Exhibit B). Thus, it was not until November 6, 2017, that

the Parties finally agreed on an acceptable scope for Plaintiffs’ request. (See Exhibit

B). Defendants produced an initial spreadsheet containing database information for

the disabled audio files on October 30, 2017, a revised spreadsheet per the Parties’

agreement on November 6, 2017, and produced the audio files themselves, as

quickly as they could, which was December 14, 2017. (See Exhibit B).


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      Additionally, as discussed in Defendants’ Motion for Sanctions and Brief, had

Plaintiffs not hidden the RIAA data, everyone (i.e., Spinrilla and the Court) would

have known what information Plaintiffs did and did not have, and Spinrilla could

have produced that particular subset of information to Plaintiffs. (Supp. Mot. For

Sanctions, pp. 8-9 [Dkt. 114]). Instead, Plaintiffs hid the RIAA data, claimed they

had “only what we can find through manually searching,” and demanded to obtain

essentially Spinrilla’s entire database and source code. (Mot. For Sanctions, pp. 12-

17 [Dkt. 98-1]; Supp. Mot. For Sanctions, pp. 8-9 [Dkt. 114]). In turn, as formerly

stated, Spinrilla resisted that broad discovery, the Court narrowed some of Plaintiffs’

discovery requests, and the Court gave Plaintiffs the opportunity to take the “source

code” deposition of Spinrilla. (See generally, Discovery Hearing Order, pp. 3-14

[Dkt. 58]).

      Plaintiffs’ lie that “only Spinrilla has this information” all but derailed this

case. Plaintiffs claim of “not having” this information caused numerous discovery

disputes and supposedly supported their demands for invasive discovery from

Spinrilla. Plaintiffs have claimed on numerous occasions that this alleged lack of

data justified their request to (1) access Spinrilla’s source code (Transcript of

08/16/2017 Hearing, pp. 8:11-20; 13:24-14:2); (2) access the entirety of Spinrilla’s

database (Transcript of 08/16/2017 Hearing, pp. 39:23-40:4 and Transcript of




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09192017 Hearing, pp. 9:25-10:17); (3) have the Court sanction Spinrilla6 and (4)

have more time to finalize their list of allegedly infringing works.7 (Transcript of

08/16/2017 Hearing, p. 41:23-42:6 and p. 41:23-42:6 and Transcript of 09/19/2017

Hearing, pp. 9:25-11:5 and 60:7-11). Any delay in obtaining the disabled sound

recordings and information related thereto is a direct result of Plaintiffs’ lies and

failure to articulate what they could and could not access from the Spinrilla service.

      Further, the information for the disabled songs was not readily available to

Defendants. As Defendants have consistently indicated, the database fields for sound

recordings disabled from Spinrilla service is not stored in any spreadsheet or



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  Plaintiffs said, “So, clearly there are databases and reports within the system that
have this information that should have been produced to us already. The website
itself when you go to the website has stream and download counts for mixed tapes
and tracks. That can only work if there is a database that tracks that information. So,
we have been frustrated because it seems it is so self-evident that the information we
have been requesting exists or else the website wouldn’t work.” (Transcript
09/19/2017 Hearing, p. 38:10-18)).
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  In trying to justify their delay in finalizing their list of songs allegedly infringed,
Plaintiffs told this lengthy lie: “We're happy to take this in steps, Your Honor, and
work with the names -- track name, title name -- track name, artist, length, the
metadata. Not the file itself. He doesn't have to produce 1.1 million MP3 files to us.
But the metadata for what is on the system, which is the track, the title, the artist
name, the album name if it is available, the track length. The things that would
indicate what the track purports to be. And then we could go through that list. And
if we identify works that are owned by our clients, we could then say, okay, we want
the MP3 files for these to confirm that they are what they purport to be. That would
be a reasonable process.” (Transcript of 09/19/2017 Hearing, pp. 59:4-16) (For more
claims by Plaintiffs that they cannot finalize their list until they get information from
Spinrilla, see Transcript of 09/19/2017 Hearing, pp. 94:18-96:2).


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document regularly maintained by Defendants. Instead, in an effort to comply with

Plaintiffs’ requests and the Court’s Orders, Defendants wrote code and created a

program to gather the database information identified by Mr. Copeland during his

deposition for the sound recordings disabled from the Spinrilla service, which took

Defendants time. Defendants also had to download, transfer, and save approximately

90,000 sound recordings which was another time consuming task. Defendants made

their best efforts to produce the expansive information requested by Plaintiffs in a

timely manner.

IV.    Conclusion

      Based on the foregoing, Defendants respectfully requests that the Court deny

Defendants’ Motion for Leave to Amend Exhibit A to the Amended Complaint due

to the prejudice it would cause Defendants and Plaintiffs’ undue delay.

      Respectfully submitted this 25th day of April, 2018.

                                             LILENFELD PC

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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ATLANTIC RECORDING                  )
CORPORATION, et al.,                )
                                    )
     Plaintiffs,                    )
                                    )              Case No.:
v.                                  )
                                    )              1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

                         CERTIFICATE OF SERVICE

      I hereby certify that on April 25, 2018, I served the foregoing Opposition to

Plaintiffs’ Motion for Leave to Amend Exhibit A to the Amended Complaint (Dkt.

194) with the Clerk of Court using the CM/ECF system, which automatically and

contemporaneously sends electronic notification and a service copy of such filing to

all counsel of record:

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Dated: April 25, 2018

s/David M. Lilenfeld
David M. Lilenfeld


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